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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF OREGON

OREGON ADVOCACY CENTER, )

)

Plaintiff, ) Civil Action No.

)
VS. ) COMPLAINT FOR DECLARATORY

) AND INJUNCTIVE RELIEF
SCAR/TASPER MOUNTAIN and ) (Civil Rights, PAIMI Act - 42 USC 10801 et seq)
DAVID ZIEGLER, Ph.D., in his official )
capacity as Director of SCAR/JASPER
MOUNTAIN,

 

)

)

)
Defendants. )

INTRODUCTION
1. In this action, the Oregon Advocacy Center (OAC), the protection and advocacy

system for the State of Oregon, seeks declaratory and injunctive relief to prevent Defendant
SCAR/Jasper Mountain, which operates SCAR/Jasper Mountain Center (Jasper Mountain), a
children’s mental health residential treatment center, from improperly denying OAC reasonable

unaccompanied access to its facilities, programs and residents, as required by federal law. OAC

seeks this access in order to perform its federally-mandated role of monitoring compliance with

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respect to the rights and safety of residents, providing information and training, and viewing
those parts of the facility used by residents.
JURISDICTION

2. This Court has jurisdiction under 28 U.S.C. §$1341 and 1343(a)(3) and (4) to enforce
42 U.S.C. §10805. Jurisdiction over Plaintiff's request for declaratory relief pursuant to 28
U.S.C. §§2201 and 2202. Plaintiffs invoke the supplemental jurisdiction of this Court under 28
U.S.C. $1367(a) to consider tis state law claims.

PARTIES

3. Plaintiff Oregon Advocacy Center (OAC) is an independent, non-profit agency,
created by federal law and designated by the Governor as the federal protection and advocacy
(P&A) system for Oregon, pursuant to 42 U.S.C. §§ 15041 ef seq., 42 U.S.C. §§10801 ef seg., 29
U.S.C. $794e, and ORS $192.515 ef seq.

4. As established by the above statutes, OAC’s mandate is to protect and advocate for the
rights of individuals with disabilities. As part of its mandate, OAC is authorized to investigate
incidents of abuse, neglect and civil rights violations of persons with mental illness, including
children with mental illness in residential treatment centers, under the Protection and Advocacy
for Individuals with Mental Illness Act (PAIMI Act), 42 U.S.C. §810801 ef seq. It is also
authorized to have reasonable access to facilities, including children’s residential mental health
treatment centers, in order to monitor a facility’s compliance with respect to the rights and safety
of residents, and for other purposes. 42 U.S.C. §10805(3); 42 C.F.R. §51.42(c).

5. OAC expends considerable time and resources advocating for individuals whose rights

have been violated in mental health residential settings, including children’s residential mental

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health treatment centers, and is expanding its efforts to systematically monitor children’s
residential mental health treatment centers.

6. Defendants’ refusal to give OAC access to its facility in order to monitor its
compliance with respect to the rights and safety of residents, to provide information and training,
and to view those parts of the facility used by residents has frustrated and is continuing to
frustrate OAC’s core mission: protection and advocacy for the rights of individuals with
disabilities. As a result it has suffered and is continuing to suffer ongoing, irreparable harm.

7. Plaintiff OAC has expended time, effort and resources in seeking to secure
Defendants’ agreement to provide the access mandated by federal and state law.

8. Defendant SCAR/Jasper Mountain Center (Jasper Mountain) is a non-profit
corporation that operates Jasper Mountain, a duly licensed residential treatment facility for
children with mental illness.

9. Jasper Mountain is a covered “facility” as defined under the PAIMI Act, 42 U.S.C.
§10802(e) and 42 CF.R. $51.2. and under state law. ORS §192.515(1).

10. Defendant David Ziegler, Ph.D. is the executive director of SCAR/Jasper Mountain,
and as such is ultimately responsible for the operation of Jasper Mountain.

FACTUAL ALLEGATIONS

11. As a protection and advocacy system, OAC has broad federal and state statutory and
regulatory powers, including access rights to facilities (including children’s residential facilities)
and to residents of those facilities. 42 U.S.C. §10805(a)(3); 42 C.F.R. §§ 51.41 and 42; ORS
192.517.

12. 42 U.S.C. §10805(a)(3) specifically grants a P&A the authority to “have access to

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facilities in the state providing care and treatment.”

13. This broad right of access includes, among other things, the right to have reasonable
unaccompanied access to facilities or programs and their residents in order to monitor
compliance with the rights and safety of residents, to provide information and training to
residents, and to view and photograph all areas of the facility used by residents or accessible to
them. 42 C.F.R. §51.42(c).

14. Congress enacted the PAIMI Act following Congressional investigations
documenting abuse and neglect of persons with mental illness in facilities around the country.
Congress expressly found that “individuals with mental illness are vulnerable to abuse and
serious injury” and that “state systems for monitoring compliance with respect to the rights of
individuals with mental illness vary widely and are frequently inadequate.” 42 U.S.C.
§§10801(a}(1) and (4). As a P&A system, one of OAC’s central missions under the PAIMI Act
is “to insure that the rights of individuals with mental illness are protected.” 42 U.S.C.
§10801(b)(1).

15. In order to perform this task with regard to children’s mental health residential
centers, including Jasper Mountain, it is necessary for OAC to monitor them as provided for in
the PAIMI Act and accompanying regulations.

16. OAC has engaged in monitoring other children’s mental health residential facilities
in the state similar to Jasper Mountain.

17. On August 23, 2006, OAC attorney James Wrigley sent a letter to Dr. Ziegler and
Alan J. Thayer, Jr., counsel for Jasper Mountain, regarding various concerns and stating that

OAC intended to visit Jasper Mountain for monitoring purposes in the near future. The letter

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cited the governing regulations and noted that OAC had previously e-mailed to Jasper Mountain
a pamphlet regarding its access rights and protection and advocacy powers. In a letter dated
August 25, 2006, Mr. Thayer stated he had found no statutory authorization in the PAIMI Act for
42 C.F.R. §51.42( c) regarding monitoring. He also suggested that the matter might have to be
resolved in federal court.

18. Ina letter to Mr, Thayer dated September 11, 2006 (attached hereto as Exhibit A),
Mr, Wrigley stated that OAC intended to visit Jasper Mountain on September 14, 2006 for
monitoring purposes. To address the concern raised in the August 25, 2006 letter, Mr. Wrigley
provided relevant authority. Finally, the letter asked that if Jasper Mountain persisted in denying
or delaying access, it provide Mr. Wrigley the prompt written statement of reasons for denial or
delay, as required by 42 C.F.R. $51.43. Ina letter dated September 13, 2006 (attached hereto as
Exhibit B), Mr. Thayer denied access, responding that:

the regulations...require only ‘reasonable unaccompanied access.’ Until the outstanding

issues are resolved, SCAR/Jasper Mountain believes that your request for access is

not reasonable. As previously mentioned SCAR/Jasper Mountain is very comfortable

having the differences under Federal statutes and regulations resolved by a Federal

judge... The issue is what is in the best interests and best medical needs of severely

abused and emotionally disturbed children and their medical needs.

19. OAC has complied with all prerequisites to obtaining access to the facility, and
Defendants have refused to allow OAC to monitor the facility.

20. Plaintiffhas no complete and adequate remedy at law and will continue to suffer
irreparable injury absent action by this Court.

COUNT ONE - Violation of the PAIMI Act and Regulations

21. Plaintiff realleges each and every paragraph set forth above.

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22. Defendants have violated OAC’s right to have access to facilities in the state
providing care and treatment of people with mental illness by denying it access to Jasper
Mountain for monitoring purposes, in violation of 42 U.S.C. §10805(a)(3).

23. Defendants have violated OAC’s right to reasonable, unaccompanied access to Jasper
Mountain facility and its residents for the purpose of:

(a) providing information, training and referral about individual rights and the protection
and advocacy services available from OAC;

(b) monitoring compliance with respect to the rights and safety of residents; and

( c) viewing and photographing all areas of the facility which are used by residents or
accessible to residents.

24. Such access is required by 42 U.S.C. §10805(a}(3) and 42 C.F.R. $51.42(c)(1), (2)
and (3).

COUNT TWO - PENDANT STATE CLAIM

25. Plaintiff realleges each and every paragraph set forth above.

26. Defendants have violated OAC’s right to have access to facilities in the state
providing care or treatment by denying it access to Jasper Mountain for monitoring purposes, in
violation of ORS $192.517(4).

RELIEF

WHEREFORE, Plaintiff prays that this Court:

(1) enter a preliminary and permanent injunction, enjoining Defendants from preventing
OAC from having reasonable unaccompanied access to monitor Jasper Mountain’s facilities and

residents, as required by federal and state law and regulations;

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(2) declare that Defendants’ actions violate the PAIMI Act and its accompanying
regulations;

(3) award Plaintiff all such other and further relief as this Honorable Court deems just and
proper.

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This_/i” day of September, 2006.

 

Respectfully submitted,

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bi, YL, Kt Ute Me
/ James A. Wrigley - OSB#90413  /
| Kathleen L. Wilde - OSB#97105
(503) 243-2081
ATTORNEYS FOR PLAINTIFF

 

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f OREGON
§ ADVOCACY
("A CENTER

Alan J. Thayer, Jr. Working for the Rights of
Perrin and Thayer Individuals with Disabilities
975 Oak St., Suite 785

PO Box 1268

Eugene, OR 97440

By Fax

 
  
 

September 11, 2006

Dear Mr. Thayer:

To follow up on my letter of September 8, 2006 this is to inform you that the Oregon
Advocacy Center intends to visit Jasper Mountain on Thursday, September 14, 2006 for
monitoring purposes, including, as we deem necessary, monitoring compliance with respect to
the rights and safety of residents; providing information and training; and viewing those parts of
the facility used by residents or accessible to residents. Both the Protection and Advocacy for
Individuals with Mental Illness Act (PAIMI Act) and its accompanying regulations require that
facilities grant protection and advocacy systems access for monitoring purposes. See 42 U.S.C.
Sec, 10805(a)(3); 42 CER. Sec. 51.42(c).

Regarding your concern about whether the PAIMI Act provides for such access, 42
U.S.C. Sec. 10805(a)(3) specifically provides that a protection and advocacy system “shall have
access to facilities in the State providing care and treatment.”” You may find it of interest that
even before the PAIMI Act regulations were promulgated, the court in Robbins v. Budke, 739 F.
Supp. 1479, 1487,1488 (D.N.M. 1990) relied upon this provision to grant a P&A wide
monitoring authority regarding a psychiatric hospital, including access to the facility, patients,
and staff.

If Jasper Mountain persists in denying or delaying access, ] request that you provide me
before 4:00 p.m, on Wednesday, September 13 at the latest the prompt written statement of
reasons for such denial or delay, as required by 42 C.F.R. Sec. 51.43.

Please be advised that we will promptly seek judicial enforcement of our right to access
Jasper Mountain for monitoring purposes, should Jasper Mountain continue to deny or delay this
access.

Sincérely,

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f 7 ames A. Wrigley
/ Staff Attorney

UY . En A Pe SIS
cc: Kathleen Wilde, Litigation Director, OAC

 

EXHIBIT A to COMPLAINT

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620 S.W. Fifth Avenue * Suite 500 « Portland, Oregon 97204-1428
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Perrin & Thayer up
Citaens Building

BUSINESS ATTORNEYS 975 Oak Street

Suite THR
PLD, Box P2tKh
Eugene, OF O74)

webb 42325

September 13, 2006 H4L345-2450 fas

athaverptlaw.com

Via Fax: 303-243-1738

Jim Wrigley

Oregon Advocacy Center

620 SW Sth Avenue, Suite 500
Portland, OR 97204-14278

Re: SCARJasper Mountain

Dear Jim,

Your September 11, 2006 letter reached me late yesterday afternoon. I have been out of the
office ill. Dave Ziegler has also been out of his office. He and I were just able to speak about
your request to visit SCAR/Jasper Mountain tomorrow.

As you know, you and SCAR/Jasper Mountain have very different interpretations of what is
pennitted and required by statutes and regulations, including 42 U.S.C.§10805(a)(3) and 42 CFR
§51.42(c).

As you know, the regulations cited above require only “reasonable unaccompanied access.” Until
the outstanding issues are resolved, SCAR/Jasper Mountain believes that your request for access
ig not reasonable.

As previously mentioned, SCAR/Jasper Mountain is very comfortable having the differences
under Federal statutes and regulations resolved by a Federal Judge. The issue isn’t turf or pride.
The issue is what is in the best interests and best medical interests of severely abused and
emotionally disturbed children and their medical needs.

Sincerely yours,
si Alan J. Thayer, Jr.
Alan J. Thayer, Jr.

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EXHIBIT B to COMPLAINT
